                           Case 1:23-mj-00062-ZMF Document 5 Filed 03/23/23 Page 1 of 1

AO 442 (Rev. 11111) Arrest Warrant




                                             UNITED STATES DISTRICT COURT
                                                                                for the

                                                                    District    of Columbia

                        United States of America
                                   v.                                             )
                                                                                  )     Case,. 1:23-mj~62
                             David Ball
                                                                                  )     Ass gned 0: Magistrate' Judge Z a M. Faruqui
                                                                                  ) Date: 3/2-l2023
                                                                                  )     Description:   Comph;lint with Arrest Warrant
                                                                                 )
                               Defendant


                                                                 ARREST WARRANT
To:          Any authorized law enforcement officer

             YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested)     D.ua....,vLl.i
                                   ...•.   •..•.
                                           d .....•.
                                               B.LIa
                                                   .•.•.
                                                     ]..._]                                                                                              _
who is accused of an offense or violation based on the following document filed with the court:

o     Indictment             0 Superseding Indictment                0 Information            0 Superseding Information                11: Complaint
o     Probation Violation Petition                0 Supervised Release Violation Petition                o Violation     Notice         0 Order of the Court

This offense is briefly described as follows:

18 U.S.C. § 1752(a){l) - Entering and Remaining in a Restricted Building or Grounds

18 U.S.C. § 1752(a)(2) - Disorderly and Disruptive Conduct in a Restricted Building

40 U.S.C. § 5104(e)(2)(D) - Disorderly Conduct on Capitol Grounds;
40 U.S.C. § 5104(e)(2)(G) - Parading, Demonstrating, or Picketing in Capitol Building.
                                                                                                                          Digitally signed by Zia M.

                                                                                                  Z·la M . Faruqui. Faruqui
                                                                                                                    Date:2023.03.2116:15:05
                                                                                                                         -{)4'OO'
Date: _~3"'-/"'_21"'_'_/""'20"_"2""'3
                       __
                                                                                                          Issuing officer's signature


City and state:                    Washington, D.C.                                                Zia M. Faruqui, U.S Magistrate Judge
                                                                                                            Printed name and title


                                                                               Return

            This warrant was received on           (date)     O~/ ~J /   Jo~J         , and the person was arrested on (date)         01/;).1/0}0      'V
at   (city and state)     fb r+/{"d     I
                                            Ad 4 : I'\.£_                .


Date:     61Q 11JoJ.."$                                                               A$&J               Arresting officer's signature


                                                                                      SA GGcrdC IJrcJ       Printed name and title
